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                   UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

Stephen C. Harvey,                           Case No. 25-10133-pmm
                                             Chapter 13
                                   Debtor.


                  Order Granting Motion to Expedite Hearing

      AND NOW, upon consideration of the Motion to Approve New Debt and
Expedite Hearing ("the Motion"), and the request for an expedited hearing thereon,
and sufficient cause being shown, it is hereby ORDERED that:

  1.   The request for an expedited hearing is GRANTED.

  2.                                                           May 14, 2025
       A hearing to consider the Motion shall be held on _______________,       at
       1:00 p.m.
       __________ in Courtroom No. 3, U.S. Bankruptcy Court, Robert N.C. Nix Sr.
       Federal Courthouse, 900 Market Street, Suite 400 Philadelphia, PA 19107.

  3.   Written objections or other responsive pleadings to the Motion (while not
       required) may be filed up to the time of the hearing and all objections will be
       considered at the hearing.

  4.   The Movant shall serve the Motion and this order on the U.S. Trustee, the case
       Trustee, all secured creditors, and all priority creditors by overnight mail,
       facsimile transmission or e-mail transmission no later than 5:00 p.m. on
       April 24, 2025
       _______________.  If the hearing is scheduled less than 48 hours after the
       Movant receives this order, Movant shall give immediate telephonic notice of
       the hearing to the above as well.

  5.   The Movant shall serve this order and the notice of motion in conformity with
       Local Bankruptcy Form 9014-3 on all other parties in interest, including all
                                                             April 24, 2025
       creditors, by regular mail no later than 5:00 p.m. on _______________.

  6.   Prior to the hearing, the Movant shall file a certification setting forth
       compliance with the service requirements of Paragraphs 4 and 5 above as
       applicable.



Date: April 21, 2025
                                             Patricia M. Mayer
                                             U.S. Bankruptcy Judge
